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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

Dinesh Patel                                      Case No.: 1:24-cv-02535

                      Plaintiff,                  Judge Ana C. Reyes

               v.                                 NOTICE OF APPEARANCE OF
                                                  COUNSEL
Georgetown Software House, Inc.

                       Defendant.


To:     The Clerk of this Court and all parties of record:

        The undersigned requests that the Clerk of Court please note the appearance of Eliot S.

Markman as counsel for Defendant Georgetown Software House, Inc. in the above-captioned

case.

Dated: January 23, 2025                               DENTONS US LLP

                                                      By: /s/ Eliot S. Markman
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 23rd day of January 2025, I served a copy of the foregoing

upon the following via electronic mail and first class, U.S. mail, postage pre-paid to the

following:

    Dinesh Patel
    2118 Walsh Ave., Suite 240
    Santa Clara, CA 95050
    btcroot@gmail.com

                                                  /s/ Eliot S. Markman




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